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AO 440 (Rev. 06/12) Summons in a Civil Action EI
UNITED STATES DISTRICT Couarihfiicr cot court fon. /
for the sk
Eastern District of NeW York * MAR 18 2024
LONG ISLAND OFFICE

Plaintiff(s) )
Vv. (
)
PYM Conca Hon ts
Defendant(s) )
SUMMONS IN A CIVI

To: (Defendant's name and address)

DVM Consultants -

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not ¢

are the United States or a United States agency, or an officer or employee of the United States des¢
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to th
the Federal Rules of Civil Procedure. The answer or motion must 4

whose name and address are:

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bivil Action No.

CV 24

| ACTION

bunting the day you received it

e attached complaint or a moti
e served on the plaintiff or plai

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N' yl [S42

If you fail to respond, judgment by default will be entered
You also must file your answer or motion with the court.

Date: >| IS [4024

gainst you for the relief deman

BRENNA B. MAH(¢
CLERK OF COURT

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) — or 60 days if you
bribed in Fed. R. Civ.
on under Rule 12 of
ntiff’s attorney,

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ded in the complaint.

DNEY

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Signature of Clerk or

Deputy Clerk

